Case 1:21-cv-22424-MGC Document 15 Entered on FLSD Docket 08/27/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                          CASE NO.: 1:21-cv-22424-MGC

  HOWARD COHAN,

         Plaintiff,

  vs.


  MAROD SUPERMARKET, INC.,
  a Florida Profit Corporation,
  d/b/a PRESIDENTE SUPERMARKET NO. #5

        Defendant(s).
  ____________________________________/

                                    NOTICE OF SETTLEMENT

         The Plaintiff, HOWARD COHAN, and the Defendant, MAROD SUPERMARKET, INC.,

  a Florida Profit Corporation, d/b/a PRESIDENTE SUPERMARKET NO. #5, (the Parties) by and

  through their undersigned counsel, hereby notifies the Court that the instant action has settled.

  Accordingly, the Parties expect to file a stipulation of dismissal within thirty (30) days and should

  not be required to file any further responses, motions, and/or pleadings.

         RESPECTFULLY SUBMITTED August 27, 2021.

   By: /s/ Gregory S. Sconzo                        By: /s/ Kielan Saborit
   Gregory S. Sconzo, Esq.                          KIELAN SABORIT, ESQ.
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Case 1:21-cv-22424-MGC Document 15 Entered on FLSD Docket 08/27/2021 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 27, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of Electronic

  Filing generated by CM/ECF.

                                                        _ /s/ Gregory S. Sconzo
                                                        Gregory S. Sconzo, Esq.




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